Case 1:21-cv-00436-HYJ-RSK ECF No. 40, PageID.249 Filed 05/11/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


KAYLYN BROCK, et al.,

        Plaintiffs,
                                                     Case No. 1:21-cv-436
v.
                                                     Hon. Hala Y. Jarbou
MICHIGAN STATE UNIVERSITY, et al.,

      Defendants.
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                                             ORDER

        The Court having been advised of the parties’ agreement to settle this matter, by a report

of facilitative mediation (ECF No. 39), filed on May 10, 2022,

        IT IS ORDERED that appropriate stipulated dismissal papers, prepared for entry by

United States District Judge Hala Y. Jarbou, shall be filed with the Court on or before May 25,

2022. If the closing documents are not presented by that date, and if the parties are unable to show

good cause for the delay and for retaining this case on the Court’s docket, this case shall be

dismissed without prejudice and without costs, pursuant to W.D. Mich. LCivR 41.1.



Date:     May 11, 2022                                /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
